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                         UNITED STATES DISTRICT COURT
                            DISTRICT OF MINNESOTA
                           Criminal No.: 15-237 (MJD/BRT)

 LINITED STATES OF AMERICA,                         SECOND SI]PERSEDING
                                                   INDICTMENT
                      Plaintiff,
                                                    18 U.S.C. $ 371
        v                                           (ILLEGAL EXPORT CONSPIRACY)

 (1) USAMA DARWICH HAMADE,                                  ss4
                                                    18 U.S.C. $
      alW a ",Pnnce Sam" Hamade,                    (SMUGGLTNG)
 (2) SAMrR AHMED tsERRO,
         alWa"Tony," and
 (3) rssAM HAMADE,

                      Defendants.

THE LINITED STATES GRAND ruRY CHARGES THAT:

       1.    At all times relevant to this' Second Superseding Indictment,     defendant

Usama Darwich Hamade was the brother of defendant Issam Hamade, and was a citizen         of

both Lebanon and the Republic of South Africa ("South Africa"), residing in South Africa.

      2.     At all times relevant to this Second Superseding Indictment, defendant Samir

Ahmed Berro was a citizen of both Lebanon and the United Kingdom of Great Britain and

Northern Ireland, residing in either Jordan or Lebanon.

       3.    At all times relevant to this Second Superseding Indictment, defendant Issam

Hamade was the brother     of defendant Usama Hamade, and was a cttizen of Lebanon,

residing in either Lebanon or South Africa.



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        4.      At all times relevantto this Second Superseding Indictment, defendant Samir

Ahmed Berro controlled SAB Aerospace, a cornpany domiciled and doing business in

Dubai, the United Arab Emirates.

     ' 5.       At all times relevant to this Second Superseding Indictment,Hizballah was

designated as a "foreign terrori       st organization" by the United   States Secretary   of   State

pursuant to Section 219 of the Immigration and Nationality Act, 8 U.S.C. Section 1189.

        6.      At all times relevant to this Seconil    Superseding Indictment, Individual        A

was a citizen and resident of South Africa who assisted Usama Hamade, Issam Hamade,

and Berro with the illegal export scheme, but who did not fully understand the scheme's

illegal purpose.

        7.      At all times relevant to this Second Superseding Indictment, Individual B

was a resident of Arizona who unwittingly assisted defendants Usama Hamade, Issam

Hamade, andBerro with the illegal export scheme

        8.      Company      A was a U.S. company, with operations in California,           which
                                                                                                        t
manufactured and sold inertial measurement units suitable for use in unmanned aenal

vehicles   ("UAVs"). The inertial       measurement units manufactured and sold by Company

A included: i) the MMQG Inertial Measurement Unit (the "MMQG IMU"); and ii) the C-

MIGITS III Inertial Measurement Unit (the "C-MIGITS IMU") (collectively, the "IMIJs")

        9.      Company B was a U.S. company with significant operations in the State and

District of Minnesota. These operations included, but were not limited to, the manufdcture

and sale of digital compasses, suitable to be paired with the IMUs manufactured and sold




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by Company      A.   The digital,compasses manufactured in Minnesota by Company B, and

shipped   by Company B from Minnesota to customers, included the Digital Compass

Solution HMR3000 compasses (hereinafter the "Digital Compasses"). When combined,

the Digital Compasses and the IMUs made an inertial guidance system suitable for use in

UAVs.

         10.     Company C was an Indiana company that sold, among other items, small jet

engines suitable for providing propulsion to        UAVs.    The   jet   engine models sold by

Company C included the TRS18 jet engine (the "Jet Engine").

         11.     Company     D was a Florida company that sold, among other items, small

piston engines suitable for providing propulsion to      UAVs. The piston        engines sold by

Company      D included the ZDZ-420-84, a two-cylinder,           four-stroke gasoline engine

displacing 420 cubic centimeters (the "Piston Engines").

         12.    Company E was a Japanese company that manufactured and sold, among

other items, binoculars, including the Model DEV-50 Recording Binoculars (the

"Binoculars").

         13. At all times relevant to this Second Superseding Indictment, pursuant              to

authority grdnted by Congress in the International Emergency Economic Powers Act                     '

codified at Title 50, United States Code, Section 1701   et seq., the   United States Department

of Commerce administered the Export Administration Regulations, codified at Title              15,


Code of Federal Regulations, parts 730-774, which prohibited the export frorn the United

States   of certain goods and commodities to specific countries and organizations,         absent



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 permission from the United States Department of Commerce in the form of an export

 license

           14.   At all times relevant to this Second Superseding Indictment, Title 50, United

 States Code, Section 1705(c), provided that any person who                willfully violated any

 provision of the Export Administration Regulations is guilty of a felony

           15. At all times relevant to this Second Superseding Indictment,              the Export

 Administration Regulations prohibited the export of the Jet Engine from the United States

 to Lebanon without first obtaining an export license from the United States Department            of

 Commerce, and, because Hizballah was a" designited foreign terrorist organizatior5

 imposed further prohibitions on the export of the Jet Engine to Hizballah without first

 obtaining an export license from the United States Department of Commerce expressly

 authorizingHizballah as an end user.

           L6. At all times relevant to this Second Superseding               Indictment, because

 }Jizballah was a designated foreign terrorist organization, the Export Adminiskation

. Regulations prohibited the export from the United States           to Hizballah of the Digital

 Compasses; the       MMQG IMUs; the Piston Engines; and the Binoculars, without first

 obtaining an export license from the United States Department of Commerce expressly

 atthonzingHizballahas         an enduser of these   items (the Jet Engine, the Digital Compasses,

 the MMQG IMUs, the Piston Engines, and the Binoculars shall be referred to as the

 "Commerce-Controlled United States Goods")




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        17. At all times relevant to this Second Superseding Indictment,                the United

States Department of State, pursuant to authority granted by Congress in the Arms Export

Control Act, codified at Title 22,IJnited States Code, Section 2751 et seq., administered

the International Traffic in Arms Regulations, codified at Title 22, Code of Federal

Regulations, parts 120-l3l,which prohibited the export            of "defense articles" from the

United States to, among other places, Lebanon, absent permission from the United States

Department of State in the form of an export license.

        18.     At all times relevant to this Second Superseding Indictment, Title 22,lJnited

States Code, Section 2778, provided that any person who           willfully violates any provision

of the International Traffic in Arms Regulations is guilty of a felony.

        19.     At all times relevant to this Second Superseding Indictment, the International

Traffic in Arms Regulations prohibited the export to Lebanon of the C-MIGITS IMUs

without first obtaining an export license from United States Department of State expressly

permitting its export to Lebanon.

                                                  COUNT    1
                                                18 U.S.C. $ 371
   (Conspiracy to Violate the International Emergency Economic Powers Act and the
 Export Administration Regulations, and to Violate the Arms Export Control Act and the
                       International Traffic in Arms Regulations)

        20.      From in or about 2009 through at least December 2073, in the State and

District of Minnesota and elsewhere, the defendants,

                                 USAMA DARWICII HAMADE,
                                     alW a   "Prtnce Sam" Hamade,
                                     SAMIR AHMED BERRO,
                                        alWa"Tony," afid


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                                          ISSAM HAMADE,

did unlawfully, willfully and knowingly conspire, combine, and agree with each other and

with other persons known and unknown to the Grand Jury to

        (a)     willfully violate the International Emergency Economic Powers Act and the

                Export Administration Regulations by'exporting and attempting to export

                from the Unite'd States to Lebanon and to Hizballah the Commerce-

                Controlled United States Goods without obtaining the required export

                licenses from the United States Department of Commerce, all in violation     of

                Title 50, United States Code, Section 1705(c); and

        (b)     willfully violate the Arms Export Control Act   and the International Traffic

                in Arms Regulations by exporting and attempting to export to Lebanon

                controlled defense articles, namely, the C-MIGITS IMU, without obtaining

                the required license from the United States Department    of State expressly

                permitting its export to Lebanon, all in violation of Title 22, United States

                Code, Section 2778.

                              PT]RPOSE OF THE CONSPIRACY

        21.     The purpose of the conspiracy was to export parts and technology from the

United States to Lebanon, and specifically to Hizballah, for, among other pu{poses,

inclusion   in UAVs, without obtaining the required export licenses under the Export

Administration Regulations or under the International Traffic in Arms Regulations.




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                                      MANNER AND MEANS

        22.     It was part of the conspimcy that in October 2009, defendant Usama Hamade

directed Individual A to order the Jet Engine from Company C in the State of Indiana for

delivery to defendant Berro at his company, SAB Aerospace, in the United Arab Emirates.

Defendant Berro then illegally transshipped the Jet Engine to Hizballah coconspirators in

Lebanon. Neither defendant Usama Hamade nor defendant Berro obtained an export

license from the United States Department of Commerce before shipping the Jet Engine to

the United Arab Emirates, Lebanon, or Hizballah.

        23.     It was further apart of the conspiracy that from in or about September 2009

through November 2009, defendant Usama Hamade directed Individual A to place orders

for the Digital Compasses and the MMQG IMUs for delivery to South Africa.

        24.     It was further apart of the conspiracy that defendant Usama Hamade falsely

told Individual A that the Digital Compasses and the IMUs would be used in UAVs in

South Africa to overfly wildlife areas to prevent poaching.

        25.      It was further apart of the conspiracy that defendant Usama Hamade instead

illegally transshipped the Digital Compasses and the IMUs to coconspirators in Lebanon

andHizballah without obtaining an export license from the United States Department of

Commerce.

         26.     It was firther apartof the conspiracy that, in March and May 2}l},Usama

Hamade directed Individual A to order two C-MIGITS IMUs from Company A without

telling Individual A that defendant lJsama Hamade intended to send the C-MIGITS IMUs



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to Lebanon and Hizballah after receiving them in South Africa. As a consequence,

Individual A obtained an export license from the United States Department of State which

permitted the export of the C-MIGITS IMUs to South Africa, but which did not expressly

permit their export to Lebanon or to Hizballah, andin fact prohibited their re-export from

South Africa without further authorization

        27   .     It was further a pafi of the conspiracy that, in latuary of 2010, defendants

Issam Hamade and U$ama Hamade directed Individual A to obtain an exhaust for the Jet

Engine, as       it had been shipped to Dubai without an exhaust. Individual A went online,

located a suitable exhaust for sale, and purchased it.

         28.       It was further apart of the conspiracy that, between November 19, 2009'and

April   13, 2010, defendant Berro caused Company D to ship.20 Piston Engines, in four

separate shipments, first from the State of Florida to another state (in one case, Minnesota),

then from that other state to a temporary recipient in Frankfurt, Germany, and thence to

SAB Aerospace in the UAE. From there, defendant Berro then illegally caused the Piston

Engines to be shipped to Lebanon and Hizballah.

        29.        It was further apart of the conspiracy that, in December 2013,        defendant

Usama Hamade directed Individual B to send the Binoculars, manufactured and sold by

Company E, to Lebanon via         a   courier, who flew from Los Angeles to Beirut, Lebanon with

the Binoculars. In Lebanon, the Binoculars were delivered to Hizballah.




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                                            OVERT ACTS

        30.      In furtherance of the conspiracy and to achieve its objects, the defendants

committed, directly, through coconspirators, and through Individuals A and B, among other

acts, the following overt acts:

        31.      On or about September 29, 2009, a United Kingdom-based                aerospace

technology broker, acting on behalf of Individual A, who was in turn acting at the direction

of defendant Usama Hamade, purchased the Digital Compasses from Company                  D.   The

Digital Compasses were exported from the State and District of Minnesota.
                -On-or=ab-o:ut-Oefob€I2;2009;Indffi dual-A-ordered,atdefenda-ntUst-nla

Hamade's direction, the Jet Engine'from Company C.

        33.      On or about October 20,2}}g,Individual       A   ordered, at defendant lJsama

Hamade's direction, 11 MMQG IMUs from Company A.

        34.      On or about October 20,2009,Individual       A   ordered, at defendant Usama

Hamade's direction, 10 C-MIGITS IMUs from Company             A. This order was later lowered
from   10 to   two C-MIGITS IMUs, which'were shipped to South Africa after purchase.

        35.      On or about October 21,2009 the Jet Engine arrived at defendant Berro's

company, SAB Aerospace, in the United Arab Emirates. On or about October 24,2009,

defendant Berro caused the Jet Engine to be shipped from SAB Aerospace to Hizballah in

Lebanon.

        36.      On or about December 1,2009, defendant Berro caused Company D to ship

five Piston Engines to     a   temporary recipient in Germany, who shipped the engines onward




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to SAB Aerospace. From therb, defendant Berro illegally caused the five Piston Engines

to be shipped to Lebanon and Hizballah.

        37   .   On or about December 7 ,2009, defendant Berro caused Company D to ship

five Piston Engines to     a   temporary recipient l6cated in the State of Minnesota, which then

shipped the engines onward to another temporary recipient located            in Germany, which

shipped the engines,onward to SAB Aerospace. From there, defendant Berro illegally

caused the five Piston Engines to be shipped to Lebanon and H:izballah.

        38.      On or about February 8, 2010, and February 17,2010, in order to help pay

for the C-MIGITS IMUs, defendant Issam Hamade wired a total of approximately US

$59,000 from a bank in Beirut, Lebanon to the bank account of a South African company,

Deltashelf 03, which was controlled by defendant Usama Hamade, and used as a corporate

vehicle for the illegal export conspiracy charged in this Second Superseding Indictment

        39.      On or about     April 14,2011,   defendant Issam Hamade transferred by wire,

from Beirut to the South African bank account of New Sam's Palace, a business owned by

defendant Usama Hamade, approximately $14,965. In the comments section of the wire

transfer, defendant Issam Hamade stated that the wired funds were for "family support"

         40.     On or about April 14,2011, defendant Issam Hamade transferred by wire,

from Beirut to the South African bank account of New Sam's Palace, a business owned by

defendant lJsama Hamade, approximately $99,959. In the comment section of the wire,

defendant Issam Hamade stated that the wired funds were "to his brothers against buying

spare parts".




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        41.     On or about     April 13,2010, defendant     Berro"caused Company D to ship 10

Piston Engines from Sarasota, Florida to Miami, Florida, and thence to a temporary

recipient in Germany, which then shipped the 10 Piston Engines to SAB Aerospace. From

there, defendant Berro illegally caused the 10 Piston Engiires to be shipped to Lebanon and

Hizballah

        42.     On or about December 3,2}l3,Individual B, at defendant Usama Hamade's

direction, sent one pair of the Binoculars to a United States person located in California,

who then, at defendant Usama Hamade's direction, couriered the Binocrilars to Lebanon

and delivered them to Hizballah.

        A11in violation of Title 18, United States Code, Section 371.

                                                   COUNT 2
                                                (1S u.S.C. $ ss4)
                                                 (18 U.S.C. $ 2)

        On or about December 3,2013, the defendant,

                                       USAMA DARWICH HAMADE,
                                           alW a'oPmnce Sam" Hamade,


aiding and abetting others, known and unknown to the grand jury, and being aided and

abetted by others, known and unknown to the grand jury, did knowingly export and send

from the United States an article and object, specifically a pair of recording binoculars

manufactured by Company E, when such exportation and sending was contrary to a law




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and a regulation of the United States, in that the defendant did not, prior to exportation and

sending, obtain the required.expbrt license.

        All in violation of Title    18, United States Code, Sections 554 and2(b)




                                         A TRUE BILL




ACTING UNITED STATES                ATTORNEY          FOREPERSON




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